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8                             UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
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11    APPLIED MEDICAL RESOURCES                     Case No. 8:23-cv-00268-WLH-DFM
      CORPORATION,
12                                                  ORDER GRANTING JOINT
                               Plaintiff,           STIPULATION TO AMEND
13                                                  SCHEDULING ORDER [127]
                  v.
14
      MEDTRONIC, INC.,
15
                               Defendant.
16
17
18          On December 10, 2024, the Parties filed a Joint Stipulation to Amend Scheduling
19    Order.
20          The Court, having considered the Stipulation and finding good cause therefor,
21    hereby GRANTS the Stipulation and ORDERS that the Civil Pretrial Schedule and Trial
22    Order (ECF No. 47), as amended (ECF Nos. 61, 88, 103), be amended as follows:
23    //
24
      //
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26    //
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                                       #:1519



1
2      Event                                 Deadline
3
       Summary Judgment: Opposing Party      January 10, 2025
4      Exchange
5      Deadline to File Joint Motion for     January 17, 2025
       Summary Judgment
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7
            IT IS SO ORDERED.
8
9
       Dated: 12/12/24
10
                                            HON. WESLEY L. HSU
11                                          UNITED STATES DISTRICT JUDGE
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